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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               CASE NO. 19-CR-60201/RUIZ




  UNITED STATES OF AMERICA     )
                               )
                               )
                               )
  v.                           )
                               )
                               )
  LESTER JAVIER BERMUDEZ ALVAREZ

                                      )
        Defendant.                    )
  ____________________________________)



                             GOVERNMENT=S RESPONSE TO
                           THE STANDING DISCOVERY ORDER

  The United States hereby files this response to the Standing Discovery Order. This response also

  complies with Local Rule 88.10 and Federal Rule of Criminal Procedure 16.

         A.    1.      An audio recording of statements made by the defendant can be obtained by
                       making arrangements with undersigned counsel.

               2.      The government is unaware of any relevant oral statements made by the
                       defendant before or after arrest in response to interrogation by any person
                       then known to the defendant to be a government agent that the government
                       intends to use at trial.

               3.      No defendant testified before the Grand Jury.

               4.      The defendant’s prior criminal record is attached.

               5.      Books, papers, documents, data, photographs, tangible objects, buildings or
                       places, within the government’s possession, custody or control, which are
                       material to the preparation of the defendant’s defense, or which the
                       government intends to use as evidence at trial to prove its case in chief, or
                       which were obtained from or belong to the defendant, may be inspected at
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                   a mutually convenient time.

                   The attachments to this discovery response are not necessarily copies of all
                   the books, papers, documents, data, etc., that the government may intend to
                   introduce at trial.

             6.    A laboratory analysis report regarding the latent prints recovered in the
                   investigation in connection with this case is attached.


       B.          DEMAND FOR RECIPROCAL DISCOVERY: Pursuant to the Standing
                   Discovery Order, the United States requests the disclosure and production
                   of materials listed in Section (b) of Local Rule 88.10. This request is also
                   made pursuant to Rule 16(b) of the Federal Rules of Criminal Procedure.

       C.          The government will disclose any information or material which may be
                   favorable on the issues of guilt or punishment within the scope of Brady v.
                   Maryland, 373 U.S. 83 (1963), and United States v. Agurs, 427 U.S. 97
                   (1976).

       D.          The government will disclose any payments, promises of immunity,
                   leniency, preferential treatment, or other inducements made to prospective
                   government witnesses, within the scope of Giglio v. United States, 405 U.S.
                   150 (1972), or Napue v. Illinois, 360 U.S. 264 (1959).

       E.          The government will disclose any prior convictions of any alleged co-
                   conspirator, accomplice or informant who will testify for the government at
                   trial.

       F.          No defendant was identified in a lineup, show up, photo array or similar
                   identification proceedings.

       G.          The government has advised its agents and officers involved in this case to
                   preserve all rough notes.

       H.          The government will timely advise the defendant of its intent, if any, to
                   introduce at trial extrinsic act evidence pursuant to F.R.E. 404(b). Pursuant
                   to Local Rule 88.10, the notice will be provided regardless of whether the
                   evidence may be used in the case-in-chief, for impeachment or possible
                   rebuttal, and will include the general nature of the evidence.


       I.          The defendant is not an aggrieved person, as defined in Title 18, United
                   States Code, Section 2510(11), of any relevant electronic surveillance that

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                        was authorized pursuant to 18 U.S.C. §2516 and 18 U.S.C §2518 and that
                        has been unsealed in accordance with 18 U.S.C §2518.

         J.             The government has ordered transcribed the Grand Jury testimony of all
                        witnesses who will testify for the government at the trial of this cause.

         K.             No contraband is involved in this indictment.

         L.             The government does not know of any automobile, vessel, or aircraft
                        allegedly used in the commission of this offense that is in the government's
                        possession.


         M.             A latent fingerprint found on a skimmer and inside cover of receipt of gas
                        station pump has been identified as that of the defendant. A copy of the
                        latent fingerprint report will be made available upon request to the
                        undersigned.

         N.             The government will make every possible effort in good faith to stipulate to
                        all facts or points of law the truth and existence of which is not contested
                        and the early resolution of which will expedite trial. These stipulations will
                        be discussed at the discovery conference.

         The government is aware of its continuing duty to disclose such newly discovered
  additional information required by the Standing Discovery Order, Rule 16(c) of the Federal Rules
  of Criminal Procedure, Brady, Giglio, Napue, and the obligation to assure a fair trial.

         The attachments to this response are numbered pages 1 - 151 .            Please contact the
  undersigned Assistant United States Attorney if any pages are missing.

                                                 Respectfully submitted,

                                                 ARIANA FAJARDO ORSHAN
                                                 UNITED STATES ATTORNEY



                                           By: _/s/ Christine Hernandez
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                                      Christine.Hernandez@usdoj.gov




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                                    CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on August 16, 2019, I electronically filed the foregoing
  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document
  is being served this day on Juan Michelen of the Office of Federal Public Defender who is
  counsel of record via email.


                                                    /s/ Christine Hernandez ________
                                                    Christine Hernandez
                                                    Assistant United States Attorney




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